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IN THE UNITED STATES DISTRlCT COURT HLED Bv “” D-c-

FoR THE WESTERN DISTRICT or TENNESSEE 05 SEP _
WESTERN DIVISION Ar MEMPHIS l AH 9= |5
MI-JACK PRODUCTS, INC.; MJMC, INC.; Ct_g,r;;\l»}lculgls,~ll: GS£C%J
and lrs TECHNoLoGIES AND am m
Lootsrrcs, LLC,

    

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Plaintiffs, )
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vs. ) Civil Action No.: 05 -21 l4-MAP

)

ATLANTIC CONTAINER LINE (USA) )

LLC, )

)

Defendant and Third-Party Plaintiff, )

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)

)

)

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VS.

PANTAINER, LTD. and CANADIAN
NATIONAL RAILROAD,

Third-Party Defendants.

 

CONSENT ORDER GRAN'I`ING LEAVE TO FILE FIRST AMENDED COMPLAINT

 

Upon motion of the Plaintiffs and With the consent of all defendants, leave is hereby granted
to amend the Cornplaint for the sole purpose of substituting Atlantic Container Lines, AB, for the
defendant Atlantic Container Line (USA), LLC. Said amendment shall relate back to the filing of
the original Complaint. Substitute Defendant Atlantic Container Lines, AB, has already appeared
in this matter, has answered the Original Complaint, and has filed a Third-Party Complaint. Thus,
the Defendant Atlantic Container Lines, AB, shall not be required to answer the First Amended
Complaint nor shall it be required to refile its Third-Party Cornplaint, and Plaintiffs shall not be
required to issue and return a summons for Atlantic Container Lines, AB. All pleadings hereinafter

shall show Atlantic Container Lines, AB, as the Defendant/Third-Party Plaintiff.

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SO ORDERED, this day of May, 2005 .

TGM Pham ”
Um`ted States Magistrate Judge

BATE GIB§ON, §E...LC
By:
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Approved as to substance and forrn:
COZEN O’CO OR

By: (57: F\'»C'-\
unter C. Quick, Esquire

Tennessee Bar No.: 10584

John W. Reis, Esquire

One Wachovia Center, Suite 2100
301 South College Street
Charlotte, North Carolina 28202
Telephone: (704) 376-3400

Fax: (704) 334-3351

CASTLE & BILLINGS, PLC

   

F. Guthrie Castle, Esquire
Tennessee Bar No.: 9757
109 Tim Warner Building
6555 Quince Road
Mernphis, Tennessee 38119
Telephone: (901) 756-6100
Fax: (901) 755-4159

ATTORNEYS FOR PLAINTIFFS

ar`H C. Bazema.nérr. (#7655)
Scott B. Peatross (#1 170)
65 Union Ave, Ste 1010
Memphis, TN 38103
Telephone: (901) 526-0412
Fax: (901) 525-8466

ATTORNEYS FOR DEFENDANT/THIRD-
PARTY PLAIN'I`IFF

McLEARY, DOMICO & KYLE, PLLC

By:

ma hon ran
( 13 vt F»‘ c.

Harold w. cLeary, Jr. (#7500) F

Kermeth O. Cooper (#20029)

Peabody Tower, Ste 1250

100 Peabody Place

Memphis, TN 38103

Telephone : (901) 312-5555

Fax: (901) 312-5667

 

ATTORNEYS FOR THIRD-PARTY
DEFENDANT.S'

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTR]CT OF TENNESSEE
WESTERN DIVISION AT MEMPHIS

MI-JACK PRODUCTS, INC.; MJMC, INC.;
and ITS TECHNOLOGIES AND
LOGISTICS, LLC,

Plaintiffs,

Civil Action No.: 05-21 14-MAP
JURY TRIAL DEMANDED

vs.
ATLANTIC CONTAINER LINES, AB,

Defendant and Third-Party Plaintiff,
vs.

PANTAINER, LTD. and CANADIAN
NATIONAL RAILROAD,

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Third-Party Defendants. )
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FIRST AMENDED COMPLAINT

 

Plaintiffs, Mi-Jack Products, Inc.; MJMC, lnc.; and ITS Technologies and Logistics, LLC,
by their counsel, and for their Cornplaint against defendant, Atlantic Container Lines, AB, aver the
following:

PARTIES

1. Plaintiff Mi-Jack Products, Inc. (“Mi-Jack”) is a corporation organized and existing
under the laws of the State of Illinois, with its principal place of business located at 31 1 1 West 167th

Street, Hazel Crest, Illinois 60429.
2. Plaintiff MJMC, Inc. (“MJMC”) is a corporation organized and existing under the
laws of the State of Illinois, With its principal place of business located at 3111 West 167th Street,

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Hazel Crest, Illinois 60429.

3. Plaintiff ITS Technologies and Logistics, LLC (“ITS”) is a limited liability
corporation organized and existing under the laws of the State of Illinois, with its principal place of

business located at 3111 West 167th Street, Hazel Crest, Illinois 60429.

4. Defendant, Atlantic Container Lines, AB (“Atlantic Container”), is a Swedish
corporation organized and existing under the laws of Sweden, with its registered office located at

S-403 36, Gothenburg, Sweden.

JURISDICTION AND VENUE

5 . This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1332, in that there
is complete diversity of citizenship between the plaintiffs and defendant, and the plaintiffs’ damages,

exclusive of interest and costs, are in excess of $75,000.00.

6. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 (a)(2), in that a substantial
part of the events and acts and omissions causing the loss that is the subject of this action occurred

in this district

FACTS

7. PlaintiffITS is in the business of, inter alia, ramping and deremping containers at the
Illinois Central rail yard, located at 590 West Alay in Memphis, Tennessee. To perform this work,
ITS operates various pieces of equipment, including MJ 90-90 sideloader cranes, which plaintiff Mi-

lack owns. Pla.intiff MJMC provides management services to ITS and Mi-Jack.
8. On December 9, 2003, at the lllinois Central rail yard, one of ITS’s employees was

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operating an MJ 90-90 sideloader crane owned by Mi-Jack to deramp a large steel container that
contained industrial machinery and equipment This container had been shipped by defendant
Atlantic Container. Prior to shipment Atlantic Container had negligently and improperly loaded and
packaged this machinery and equipment so that the container was “nose-heavy.” Moreover, in
addition to being unevenly di stributed, this machinery and equipment was not properly blocked and
braced to prevent it from shifting inside the container. When ITS’s employee attempted to deramp
this container, the container overturned onto Mi-Jack’s sideloader crane and substantially damaged
it. As a result, ITS and MJMC had to incur substantial expense in uprighting this damaged crane;
in cleaning up the loss site, including providing environmental clean-up; and in paying for repair to

the container. The crane, which Mi-Jack owned, was a total loss.

9. As a result of this event, plaintiffs suffered damages in the amount of 3225,000.00.

COUNT I - NEGLIGENCE AGAINST ATLANTIC CONTAINER

10. Plaintiff reasserts the averments contained in Paragraphs 1 through 9 of this

Complaint.

1 l . Defendant Atlantic Container owed a duty of due care to load containers for shipment
by rail in a reasonably prudent manner, and in accordance with industry standards Atlantic
Container negligently failed to load, package, and ship the machinery and equipment in this container

in the following ways:

A. The contents of the container were unevenly distributed so that the container

was nose-heavy. Approximately eighty percent of the weight inside the

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container was in the forward 18-foot section of the container;
B. The contents of this container were not blocked and braced sufficiently;

C. Among other things, nails were not fully driven for this blocking, and some
of this nail penetration was substantially less than required industry

standards;

D. The machinery and equipment in the container should have been secured with
triangulated ratchet straps, chain, or cables with turnbuckles. However, this
machinery and equipment had been secured with box banding and with other

improper and insufficient means;

E. By failing to properly inspect its loading, packaging, blocking, and bracing

work; and
F. ln other ways that may be disclosed during discovery.

12. As a direct and proximate result of these negligent acts and omissions by Atlantic

Container, plaintiffs have suffered the previously described damages

WHEREFORE, plaintiffs respectfully pray that they be granted judgment against defendant
Atlantic Container; that they recover reasonable and just compensatory damages as to each element
of damage to Which they are entitled, which includes an amount of $225,000.00; that they be
awarded pre-judgment interest and costs; and that they recover such other and further relief as this

Court may deem just and proper.

PLAINTIFFS DEMAND A JURY TRIAL.

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Respectfhlly submitted,

COZEN O’CONNOR

By: M(.Q 7 FG¢:)

unter C. Quick, Esquire\
Tennessee Bar No.: 10584
John W. Reis, Esquire
One Wachovia Center, Suite 2100
301 South College Street
Charlotte, North Carolina 28202
Telephone: (704) 376-3400
Fax: (704) 334-3351

CASTLE & BILLINGS, PLC

   

. uthrie astle, Esquire
Tennessee Bar No.: 9757
109 Tim Warner Building
6555 Quince Road

Memphis, Tennessee 38119
Telephone: (901) 75 6-61 00
Fax: (901) 755-4159

ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing was served by
e-mail this 24"‘ day of July, 2005, on William C. Bateman, Jr., attorney for Defendant/'I`hird-Party
Plaintiff`, and Harold W. McLeary, Jr., attorney for Third-Party Defendant.

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CV-02l 14 was distributed by fax, mail, or direct printing on
September 7, 2005 to the parties listed.

ESSEE

 

Kenneth O. Cooper

McLEARY DOl\/llCO & KYLE, PLLC

100 Peabody Place
Ste. 1250
l\/lemphis7 TN 38103

Allan B. Thorp

THORP FONES & FRULLA, PLC
5668 S. Rex Rd.

Second Floor

l\/lemphis7 TN 38119

F. Guthrie Castle

CASTLE & ASSOCIATES
6555 Quince Rd.

Ste. 109

l\/lemphis7 TN 38119

John W. Reis

COZEN O'CONNOR

One Wachovia Center, Suite 2100
301 South College Street
Charlotte, NC 28202

William C. Bateman

BATEMAN GIBSON & CH[LDERS
65 Union Ave.

Ste. 1 0 1 0

l\/lemphis7 TN 38103

Hunter C. Quick
COZEN & O'CONNOR
One First Union Center
Ste. 2100

Charlotte, NC 28202

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Harold W. McLeary

McLEARY DOl\/HCO & KYLE, PLLC
100 Peabody Place

Ste. 1250

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

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